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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



Franklin Lopez, Samuel Martinez Lopez,                   Civ. No. 20-1330 (JRT/BRT)
and all others similarly situated,

                    Plaintiffs,

v.
                                                                ORDER
William P. Barr, United States Attorney
General, et al.,

                     Defendants.


       Defendants’ request an extension of time in which to file a reply in support of their

Motion to Dismiss. (Doc. No. 26.) No hearing thereon being necessary and for good

cause shown, IT IS HEREBY ORDERED that Defendants shall have up to and

including September 25, 2020, to file a reply.



Date: September 18, 2020

                                   s/ Becky R. Thorson
                                   BECKY R. THORSON
                                   United States Magistrate Judge
